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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                                          )
v.                                                               Case Number: 1:20-CR-275-JSA
                                                          )      USM Number:
MILTON AYIMADU                                            )
                                                          )      Benjamin Alper
                                                          )      Defendant’s Attorney


THE DEFENDANT:

The defendant pleaded guilty to count(s) One.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                        Offense Ended        Count

50 U.S.C. §§ 4512 and 4513           Hoarding of Designated Scarce            May 5, 2020            One
                                     Materials - National Defense

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         September 2, 2020
                                                         Date of Imposition of Judgment




                                                         Signature of Judge

                                                         JUSTIN S. ANAND, U. S. MAGISTRATE JUDGE
                                                         Name and Title of Judge

                                                         September 2, 2020
                                                         Date
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Judgment in a Criminal Case
Sheet 4 -- Probation

                                              PROBATION

You are hereby sentenced to probation for a term of: Two years
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the
         time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
         at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
         the person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                     Date

 USPO's Signature                                                          Date
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                    ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
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DEFENDANT: MILTON AYIMADU
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                               SPECIAL CONDITIONS OF SUPERVISION

As part of your probation, you must refrain from any violations of state, federal, or local law, and you must pay
the following financial penalties.
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Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties.

                   Special Assessment

TOTAL              $25.00

                   Fine

TOTAL              $75,000.00




*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
